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UNITED STATES DISTRICT COURT | : _ |
SOUTHERN DISTRICT OF NEW YORK i oo }
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Plaintiffs,
-against- UNDER SEAL
[SEALED],
Defendants. i
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STIPULATION

WHEREAS, the Court imposed a seal on the file in this action by a certain Order
dated March 1, 2012 and has, by subsequent orders, extended and modified the seal from time to
time;

WHEREAS, in accordance with the Court’s order dated October 2, 2014, the New
York City Law Department, counsel for the City of New York (the “City”), disclosed the qui tam
complaint in this action to Defendants Siemens AG, Siemens Corporation, Siemens Industry, and
Siemens Electrical, LLC, formerly known as Schlesinger-Siemens Electrical, LLC and sued
herein as Siemens Schlesinger Electric, LLC (all such defendants collectively referred to herein
as “Siemens”);

WHEREAS, the parties have conducted settlement negotiations regarding, infer
alia, the claims asserted in the gui fam complaint in this action;

WHEREAS, the City and Siemens wish to continue their settlement negotiations;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and
between the City and Siemens, in connection with State Finance Law § 190(2)(d), that if the City

files a superseding complaint in this action by November 13, 2015, such complaint shall relate

 
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back to the filing date of the complaint of the gui tam plaintiff, to the extent that the City’s cause
of action arises out of the conduct, transactions, or occurrences set forth, or attempted to be set
forth, in the complaint of the qui tam plaintiff, and

IT IS FURTHER STIPULATED AND AGREED that nothing in this Agreement
shall be construed as an admission by Siemens as to the validity of any causes of action brought
against any of the named Siemens entities or as a modification, waiver, or release of any of the
Siemens entities’ rights, remedies, or defenses, including as to timeliness, except as to the
relation back of the filing date of the complaint in this action; and

IT [IS FURTHER STIPULATED AND AGREED that (i) this stipulation may be
executed in counterparts; (ii) a facsimile or PDF copy of a signature on this stipulation shall have
the same force and effect as an original signature; and (iii) this stipulation may be filed and an
order may be entered upon this stipulation without further notice to any party.

Dated: August 10, 2015
New York, New York

  

  
 

ZACHARY W. CARTER BINDER & SCHWARTZ LLP
Corporation Counsel of the City of New York 28 W. 44" Street, Suite 700
100 Church Street, Room 20-104 New York, NY 10036 |
New York, NY 10007 apse Jor Siemens AG, Siemens
Counsel for the City of New York Corporation, Siemens Industry, and Siemens
Electrical, Ye

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Brian T. Horan \ Hee Wan Schwartz

Assistant Corporation Counsel

. f0 ORDERED:

Ans
HON’ KuBREW L. ke é —
UNITFD STATES DISTRICT JUDGE 2
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